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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


In re:                                                          Chapter 11

BED BATH & BEYOND INC., et al.,                                 Case No. 23-13359 (VFP)

                                        Debtors.1               (Joint Administration Requested)



NOTICE OF AGENDA OF MATTERS SCHEDULED FOR FIRST DAY HEARINGS ON
               April 24, 2023 AT 2:00 P.M. (EASTERN TIME)




1      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
       the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The
       location of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
       chapter 11 cases is 650 Liberty Avenue, Union, New Jersey 07083.


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    I.        MATTERS GOING FORWARD

          1. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
             (A) Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Liens
             and Superpriority Administrative Expense Claims, (III) Granting Adequate
             Protection, (IV) Modifying the Automatic Stay, (V) Scheduling a Final Hearing, and
             (VI) Granting Related Relief [Docket No. 25]

                A. Related Documents

                         •    Declaration of David Kurtz in Support of the Debtors’ Motion for
                              Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
                              Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II)
                              Granting Liens and Superpriority Administrative Expense Claims,
                              (III) Granting Adequate Protection, (IV) Modifying the Automatic
                              Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related
                              Relief [Docket No. 36]

                         •    Declaration of Holly Etlin in Support of the Debtors’ Motion for Entry
                              of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain
                              Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting
                              Liens and Superpriority Administrative Expense Claims, (III)
                              Granting Adequate Protection, (IV) Modifying the Automatic Stay,
                              (V) Scheduling a Final Hearing, and (VI) Granting Related Relief
                              [Docket No. 37]

                         •    Interim Order (I) Authorizing the Debtors to (A) Obtain Postpetition
                              Financing and (B) Utilize Cash Collateral, (II) Granting Liens and
                              Superpriority Administrative Expense Claims, (III) Granting
                              Adequate Protection, (IV) Modifying the Automatic Stay,
                              (V) Scheduling a Final Hearing, and (VI) Granting Related Relief
                              [Docket No. 35]

                         •    DIP Credit Agreement [Docket No. 41]

                         •    Approved Budget [Docket No. 41-1]

            Status:      This matter is going forward with permission of the Court.

         2. Debtors’ Motion for Entry of an Order (I)(A) Approving the Auction and Bidding
            Procedures, (B) Approving Stalking Horse Bid Protections, (C) Scheduling Bid
            Deadlines and an Auction, (D) Approving the Form and Manner of Notice Thereof,
            (E) Approving the Form APA, and (II) (A) Establishing Notice and Procedures for the
            Assumption and Assignment of Contracts and Leases, (B) Authorizing the Assumption
            and Assignment of Assumed Contracts, (C) Authorizing the Sale of Assets and
            (D) Granting Related Relief [Docket No. 29]

                A. Related Documents


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                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

                        •    Declaration of David Kurtz in Support of the Debtors' Motion for Entry
                             of Orders [Docket No. 29-1]

                        •    Declaration of Elise S. Frejka in Support of the Debtors' Motion for
                             Entry of Orders [Docket No. 29-2]

              Status:   This matter is going forward with permission of the Court.

         3. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
            (A) Continue Use of Existing Business Forms and Records, (B) Maintain Existing
            Corporate Bank Accounts and Cash Management System, (C) Pay Prepetition Bank
            Fees Associated with the Cash Management System, and (D) Continue Performance
            of Intercompany Transactions; (II) Granting Administrative Expense Status to
            Postpetition Intercompany Balances; and (III) Waiving Certain U.S. Trustee
            Requirements [Docket No. 18]

                A. Related Documents

                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

              Status:   This matter is going forward with permission of the Court.

         4. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
            (A) Pay Prepetition Wages, Salaries, Other Compensation, and Reimbursable
            Expenses and (B) Continue Employee Benefits Programs and (II) Granting Related
            Relief [Docket No. 11]

                A. Related Documents

                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

              Status:   This matter is going forward with permission of the Court.

         5. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
            Assume the Consulting Agreements, (II) Authorizing and Approving the Conduct of
            Store Closing Sales, with Such Sales to be Free and Clear Of All Liens, Claims, and
            Encumbrances, (III) Authorizing Customary Bonuses to Employees of Closing Stores,
            and (IV) Granting Related Relief [Docket No. 28]

                A. Related Documents


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                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

              Status:   This matter is going forward with permission of the Court.

         6. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
            Pay Certain Prepetition Secured Claims of Critical Lien Claimants, (II) Confirming
            Administrative Expense Priority of Critical Outstanding Orders, and (III) Granting
            Related Relief [Docket No. 22]

                A. Related Documents

                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

              Status:   This matter is going forward with permission of the Court.

         7. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
            (A) Maintain Insurance and Surety Coverage Entered into Prepetition and Pay Related
            Prepetition Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance
            and Surety Coverage, and (II) Granting Related Relief [Docket No. 20]

                A. Related Documents

                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

              Status:   This matter is going forward with permission of the Court.

         8. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Payment
            of Certain Taxes and Fees, and (II) Granting Related Relief [Docket No. 12]

                A. Related Documents

                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

              Status:   This matter is going forward with permission of the Court.

         9. Debtors’ Motion for Entry of Interim and Final Orders (I) Approving the Debtors’
            Proposed Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting
            Utility Companies from Altering, Refusing, or Discontinuing Services, (III)
            Approving the Debtors’ Proposed Procedures for Resolving Additional Assurance
            Requests, and (IV) Granting Related Relief [Docket No. 21]


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                A. Related Documents

                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

              Status:   This matter is going forward with permission of the Court.

         10. Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Notification and
             Hearing Procedures for Certain Transfers of Common Stock and Preferred Stock and
             (II) Granting Related Relief [Docket No. 23]

                A. Related Documents

                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

              Status:   This matter is going forward with permission of the Court.

         11. Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of Chapter
             11 Cases and (II) Granting Related Relief [Docket No. 5]

                A. Related Documents

                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

              Status:   This matter is going forward with permission of the Court.

         12. Debtors’ Motion for Entry of an Order (I) Establishing Certain Notice, Case
             Management, and Administrative Procedures and (II) Granting Related Relief
             [Docket No. 7]

                A. Related Documents

                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

              Status:   This matter is going forward with permission of the Court.

         13. Debtors’ Application for Entry of an Order (I) Authorizing the Appointment of Kroll
             Restructuring Administration LLC as Claims and Noticing Agent Effective as to the
             Petition Date and (II) Granting Related Relief [Docket No. 6]

                A. Related Documents



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                        •    Declaration of Benjamin J. Steele in Support of Debtors’ Application
                             for Entry of an Order (I) Authorizing the Appointment of Kroll
                             Restructuring Administration LLC as Claims and Noticing Agent
                             Effective as of the Petition Date, and (II) Granting Related Relief
                             [Docket No. 6]

         14. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
             (A) File a Consolidated List of the Debtors’ 30 Largest Unsecured Creditors, (B) File
             a Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix for
             Each Debtor, (C) Redact Certain Personally Identifiable Information, (II) Waiving the
             Requirement to File a List of Equity Holders and Provide Notices Directly to Equity
             Security Holders, and (III) Granting Related Relief [Docket No. 8]

                A. Related Documents

                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

              Status:   This matter is going forward with permission of the Court.

         15. Debtors’ Motion Seeking Entry of an Order Extending Time to (I) File Schedules of
             Assets And Liabilities, Schedules of Executory Contracts and Unexpired Leases, and
             Statements of Financial Affairs and (II) Granting Related Relief [Docket No. 9]

                A. Related Documents

                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

              Status:   This matter is going forward with permission of the Court.

         16. Debtors’ Motion for Entry of an Order Implementing a Procedural Protocol for the
             Administration of Cross-Border Insolvency Proceedings [Docket No. 24]

                A. Related Documents

                        •    Declaration of Holly Etlin, Chief Restructuring Officer of Bed Bath &
                             Beyond Inc., in Support of the Debtors’ Chapter 11 Petitions and First
                             Day Motions [Docket No. 10]

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Dated: April 23, 2023
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